AO 245C         (Rev.Case     2:12-cr-00453-APG-GWF
                      09/11) Amended Judgment in a Criminal Case        Document 174            Filed 03/04/14(NOTE:
                                                                                                                  Page     1 Changes
                                                                                                                     Identify of 12 with Asterisks (*))
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                             12-453                                     District of                                      Nevada
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                             V.
                       DIANA RUIZ,                                                 Case Number:                  2:12-cr-453-APG-GWF-2
                     aka Diana Espinoza                                            USM Number:                   47439-048
Date of Original Judgment: February 19. 2014                                       JAMES HARTSELL
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One of the Indictment
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                               Offense Ended                  Count

21 USC §§ 846 and                  Conspiracy to Distribute Controlled Substances                                        9/2012                    One
   841(b)(1)(C)


       The defendant is sentenced as provided in pages 2                       7              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s)              All Remaining Counts G is X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   February 19, 2014*
                                                                                   Date of Imposition of Judgment


                                                                                   Signature of Judge
                                                                                   ANDREW P. GORDON, UNITED STATES DISTRICT JUDGE
                                                                                   Name and Title of Judge
                                                                                   March
                                                                                   March 4,
                                                                                         3, 2014
                                                                                            2014
                                                                                   Date
AO 245C       Case
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                   09/11) Amended Judgment in a Criminal Document
                                                         Case     174                  Filed 03/04/14        Page 2 of 12
             Sheet 2 — Imprisonment                                                                  (NOTE: Identify Changes with Asterisks
                                                                                                  Judgment — Page          2   of     7
DEFENDANT:                 DIANA RUIZ
CASE NUMBER:               2:12-cr-453-APG-GWF-2

                                                            IMPRISONMENT


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of :   30 MONTHS




X      The court makes the following recommendations to the Bureau of Prisons:

       The Court recommends the Defendant be permitted to serve her term of incarceration in a Southern California facility and
       be allowed to participate in the RDAP program.


G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.       on                                      .

       G     as notified by the United States Marshal.

X      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       X     before 12:00 p.m.      MAY 16, 2014                         .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                          to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C         Case
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                     09/11) Amended Judgment in a Criminal Document
                                                           Case     174                 Filed 03/04/14           Page 3 of 12
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page           3    of         7
DEFENDANT:                 DIANA RUIZ
CASE NUMBER:               2:12-cr-453-APG-GWF-2
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :        3 YEARS




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
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                 09/11) Amended Judgment in a Criminal Case   Document 174     Filed 03/04/14    Page 4 of 12
           Sheet 3C — Supervised Release                                                    (NOTE: Identify Changes with Asterisks (*))
                                                                                          Judgment—Page       4      of         7
DEFENDANT:               DIANA RUIZ
CASE NUMBER:             2:12-cr-453-APG-GWF-2

                                      SPECIAL CONDITIONS OF SUPERVISION



1) You shall not possess, have under your control, or have access to any firearm, explosive device, or other
dangerous weapons, as defined by federal, state, or local law.
2) To ensure compliance with all conditions of release, you shall submit to the search of your person, and any
property, residence, business or automobile under your control by the probation officer, or any other authorized
person under the immediate and personal supervision of the probation officer without a search warrant at a
reasonable time and in a reasonable manner. Provided, however, you shall be required to submit to any search only
if the probation officer has reasonable suspicion to believe you have violated a condition or conditions of release.
You shall also inform any other residents that the premises may be subject to a search pursuant to this condition.

Note: A written copy of the conditions of release was provided to the Defendant by the Probation Officer in open
Court at the time of sentencing.




ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)           _________________________                                 ______________________
                   Defendant                                                 Date

                 ___________________________                                 _______________________
                 U.S. Probation/Designated Witness                           Date
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                 09/11) Amended Judgment in a Criminal Case     Document 174           Filed 03/04/14          Page 5 of 12
           Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page       5        of         7
DEFENDANT:                      DIANA RUIZ
CASE NUMBER:                    2:12-cr-453-APG-GWF-2
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                               Restitution
TOTALS           $ 100.00                                        $    WAIVED                          $ N/A


G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss*                          Restitution Ordered                  Priority or Percentage




TOTALS                            $                                        $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for        G fine          G restitution.
     G the interest requirement for the      G fine           G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO            Case
            (Rev.     2:12-cr-00453-APG-GWF
                  09/11)                                 Document 174
                         Amended Judgment in a Criminal Case                             Filed 03/04/14          Page 6 of 12
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page         6      of         7
DEFENDANT:                 DIANA RUIZ
CASE NUMBER:               2:12-cr-453-APG-GWF-2

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            100.00              due immediately, balance due

          G not later than                                       , or
          G in accordance with G C,              G   D,    G     E, or    G F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     (See Attached Final Order of Forfeiture)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
AO 245B     (Rev.Case     2:12-cr-00453-APG-GWF
                  09/11) Judgment in a Criminal Case                    Document 174                Filed 03/04/14               Page 7 of 12
            Sheet 7 — Denial of Federal Benefits

                                                                                                                         Judgment — Page      7      of         7
DEFENDANT:                      DIANA RUIZ
CASE NUMBER:                    2:12-cr-453-APG-GWF-2
                                                               DENIAL OF FEDERAL BENEFITS
                                                      (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

          IT IS ORDERED that the defendant shall be:

G    ineligible for all federal benefits for a period of                                                   .

G    ineligible for the following federal benefits for a period of                                                           .

     (specify benefit(s))




                                                                                 OR

X Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

G    be ineligible for all federal benefits for a period of                                                .

G    be ineligible for the following federal benefits for a period of                                                        .

     (specify benefit(s))




            IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this judgment as a requirement
            for the reinstatement of eligibility for federal benefits.




                     Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health, disability,
veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required for eligibility. The clerk is responsible
for sending a copy of this page and the first page of this judgment to:


                                            U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
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